Case 2:04-cv-02133-JAG-GDH Document 3-9 Filed 07/06/04 Page 1 of 9 PagelD: 207

EXHIBIT E
Case 2:04-cv-02133-JAG-GDH Document 3-9 Filed 07/06/04 Page 2 of 9 PagelD: 208

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
x \
EARL MAITLAND, : CIVIL ACTION NO.
: 2:04-CV-2123
Plaintiff,

Vv.

GENTA INC., RAYMOND P. WARRELL, JR.
and LORETTA M. ITRI,

 

 

 

Defendants.
FURINO, : _ CIVIL ACTION NO.
: 2:04-CV-2132
Plaintiff,
Vv.
GENTA INC., ET AL.,
Defendants. :
a | | x
JAY WASSERMAN, : CIVIL ACTION NO.
: 2:04-CV-2133
Plaintiff, :
v. :
GENTA INC., ET AL., :
Defendants. :
x

DECLARATION OF JAMES RAINEY

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Case 2:04-cv-02133-JAG-GDH Document 3-9 Filed 07/06/04 Page 3 of 9 PagelD: 209

 

 

 

 

x
RICHARD M. YARBRO, : CIVIL ACTION NO.
: 2:04-CV-2160
Plaintiff, :
Vv. :
GENTA INC., ET AL., :
Defendants. :
x
SARAH SONTAG, : CIVIL ACTION NO.
: 2:04-CV-2162
Plaintiff,
Vv.
‘GENTA INC., ET AL.,
Defendants. | :
x
FRED DEN, . : CIVIL ACTION NO.
: 2:04-CV-2201
Plaintiff, :
Vv. :
GENTA INC., ET AL., :
Defendants. :
x
RICHARD JACOBS, : CIVIL ACTION NO.
: 2:04-CV-2231
’ Plaintiff, :
Vv. :
GENTA INC., ET AL., :
Defendants. :
x

 

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Case 2:04-cv-02133-JAG-GDH Document 3-9 Filed 07/06/04 Page 4 of 9 PagelD: 210

 

 

 

 

 

x
BERNARD SAGGAU, _ : CIVIL ACTION NO.
. : 2:04-CV-2232
Plaintiff, :
v. :
GENTA INC., ET AL., :
Defendants. :
x
BONNIE ROST, : CIVIL ACTION NO.
: 2:04-CV-2245
Plaintiff, :
ve :
GENTA INC., ET AL., :
Defendants. :
x
ABRAHAM MEISNER, , : CIVIL ACTION NO.
: 2:04-CV-2246
Plaintiff, :
v. :
GENTA INC., ET AL., :
Defendants. :
x
MILTON PFEIFFER, : CIVIL ACTION NO.
: 2:04-CV-2314
Plaintiff, :
Vv. :
GENTA INC., ET AL., :
Defendants. :
x

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Case 2:04-cv-02133-JAG-GDH Document 3-9 Filed 07/06/04 Page 5 of 9. PagelD: 211

 

ANGELICA L. FURLA,

 

 

 

Plaintiff,
GENTA INC., ET AL.,

Defendants.
JOHN F. ELLIOT,

Plaintiff,
GENTA INC., ET AL.,

Defendants.
BARRY GERARD,

Plaintiff, .
GENTA INC., ET AL.,

Defendants.
JOHN F. ELLIOT,

‘Plaintiff,

GENTA INC., ET AL.,

Defendants.

 

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iv

CIVIL ACTION NO.
2:04-CV-2392

CIVIL ACTION NO. ©
2:04-CV-2466

CIVIL ACTION NO.
2:04-CV-2471

CIVIL ACTION NO.
2:04-CV-2498
Case 2:04-cv-02133-JAG-GDH Document 3-9 Filed 07/06/04 Page 6 of 9 PagelD: 212

 

 

 

 

DAVID GREENBERG, : CIVIL ACTION NO.
: 2:04-CV-2576
Plaintiff, :
Vv. :
GENTA INC., ET AL., :
Defendants. :
x
CASEY M. MCGUANE, : CIVIL ACTION NO.
: 2:04-CV-2581
Plaintiff, :
v. :
GENTA INC., ET AL., :
Defendants. :
x
HAROLD FULLEN, © : CIVIL ACTION NO.
: 2:04-CV-2664
Plaintiff, 3 ,
v. :
GENTA INC., ET AL., ;
Defendants. :
x
CORY HECHLER, : CIVIL ACTION NO.
: -2:04-CV-2665
Plaintiff,
v..
GENTA INC., ET AL.,

Defendants.

 

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Case 2:04-cv-02133-JAG-GDH Document 3-9 Filed 07/06/04 Page 7 of 9 PagelD: 213

 

 

 

Defendants.

x .
WILLIAM T. DEANE, : CIVIL ACTION NO.
: 2:04-CV-2876
Plaintiff, :
Vv. :
GENTA INC., ET AL., :
Defendants. :
x
ARTHUR SIEGAL, : CIVIL ACTION NO.
7 2:04-CV-2908
Plaintiff, ;
v. :
GENTA_INC., ET AL., © :
Defendants. :
ne x
JOHN T. JACOBUS, :- CIVIL ACTION NO.
: 2:04-CV-2936
Plaintiff, : 7
v. :
GENTA INC., ET AL., :
x

 

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DECLARATION OF JAMES RAINEY

I, JAMES RAINEY, declare-as follows under penalty of perjury:

1. | Tam the Chief Executive Officer of Ark Capital Management, LLC (“Ark”) and I
submit this declaration in support of the accompanying Motion by Biodun Jaiyesimi, Ark Capital
Management, LLC, Jay and Deborah Wasserman, and Janak Jethmalani for Consolidation, for
Their Appointment as Lead Plaintiffs and for Approval of Lead Plaintiffs’ Selection of Lead
Counsel.
2: Ark is a hedge fund based in Cary, North Carolina, just outside Raleigh. It
_ suffered a loss of approximately $316,000 as a result of its investment in the securities of Genta,
Inc. (“Genta”). Ark’s transactions in Genta securities are set forth in its certification.
accompanying the lead plaintiff motion. As Chief Executive Officer of Ark, I am authorized to
act on its behalf, including, among other things, investing on behalf of Ark and bringing suit to
recover investment losses. I hold an MBA in Capital Markets and Finance and an undergraduate
degree in Engineering.
3. I understand the responsibilities of being a lead plaintiff and class representative,
and am willing to fulfill these duties and to testify at a deposition or trial, if needed in this
litigation.
4, I participated in a telephone conference call on June 30, 2004 with the proposed
lead plaintiffs. During the call, which lasted over one hour, each of us declared our intention to
apply to be appointed as lead plaintiff and serve as such, if appointed. Each of the proposed lead
plaintiffs is highly-educated and knowledgeable. We also discussed, among other things, the
responsibilities and duties of the lead plaintiffs, the likely course of the litigation, and reached an
agreement with our counsel concerning attorneys’ fees and costs. We agreed to exercise joint
decision-making and to work together as lead plaintiffs to direct the litigation and to oversee the
work of counsel. In this regard, we agreed to convene regularly on the telephone to discuss the
Status and progress of the case and to seek to reach a consensus on important issues affecting the

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conduct of the litigation. If a group consensus could not be reached, we apreed to abide by a
majority vote of the lead plaintiffs.

5. We also agreed to support the application of Berger & Montague, P.C. and
Vianale & Vianale LLP for appointment as Plaintiffs’ Lead Counsel and Cohn Lifland Pearlman
Herrmann & Knopf LLP as Plaintiffs’ Liaison Counsel. We discussed the qualifications of
Berger & Montague, P.C. and Vianale & Vianale LLP and are comfortable that they have
extensive experience representing plaintiffs in securities and class action litigation, including
securities class actions against drug companies. We understand that this case will be under the
direct supervision of Sherrie R. Savett and Barbara A. Podell at Berger & Montague, P.C. and
Kenneth J. Vianale of Vianale & Vianale, LLP, each of whom has extensive experience
prosecuting these kind of securities class actions.

6. _ The Lead Plaintiffs intend to communicate regularly with Lead Counsel about the
status and progress of the action in order to maximize the recovery of the class. We believe that
our direction and supervision of the litigation and our counsel will ensure the most efficient and

cost-effective management of this litigation.

‘Dated: July /, 2004 . |
JAMES RAINEY
Ark Capital Management, LLC

201 Shannon Oaks Circle, Suite 200
Cary, NC 27511

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